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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:21-CR-00071 JAM
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           FINDINGS AND ORDER
14   CALVIN JAMES SMITH,                                DATE: August 3, 2021
                                                        TIME: 9:30 a.m.
15                               Defendant.             COURT: Hon. John A. Mendez
16

17                                              STIPULATION

18         Plaintiff United States of America, by and through its counsel of record, Alexis Nelsen, and

19 defendant, Calvin Smith, by and through defendant’s counsel of record, Edward Robinson, hereby

20 stipulate as follows:

21         1.      By previous order, this matter was set for status on August 3, 2021.

22         2.      By this stipulation, defendant now moves to continue the status conference until

23 September 21, 2021, and to exclude time between August 3, 2021, and September 21, 2021, under Local

24 Code T4.

25         3.      The parties agree and stipulate, and request that the Court find the following:

26                 a)      The government has represented that the discovery associated with this case

27         includes investigative reports and audio recordings. All of this discovery has been either

28         produced directly to counsel and/or made available for inspection and copying.


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 1                  b)     Counsel for defendant desires additional time to consult with his client, review

 2          current charges, conduct investigation and research related to the charges, review the discovery,

 3          discuss potential resolutions with his client, and to otherwise prepare for trial.

 4                  c)     Counsel for defendant believes that failure to grant the above-requested

 5          continuance would deny him the reasonable time necessary for effective preparation, taking into

 6          account the exercise of due diligence.

 7                  d)     The government does not object to the continuance.

 8                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of August 3, 2021, to September 21,

13          2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

14          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

15          of the Court’s finding that the ends of justice served by taking such action outweigh the best

16          interest of the public and the defendant in a speedy trial.

17          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21
      Dated: July 29, 2021                                    PHILLIP A. TALBERT
22                                                            Acting United States Attorney
23
                                                              /s/ ALEXIS NELSEN
24                                                            ALEXIS NELSEN
                                                              Assistant United States Attorney
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26
      Dated: July 29, 2021                                    /s/ EDWARD ROBINSON
27                                                            EDWARD ROBINSON
28                                                            Counsel for Defendant
                                                              CALVIN JAMES SMITH

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 3                                      FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED this 29th day of July, 2021.

 5
                                               /s/ John A. Mendez
 6
                                               THE HONORABLE JOHN A. MENDEZ
 7                                             UNITED STATES DISTRICT COURT JUDGE

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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
